                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

   UNITED STATES OF AMERICA,                      )
                                                  )
                 Plaintiff,                       )
                                                  )
   v.                                             )       No. 3:16-CR-20
                                                  )
   MARK HAZELWOOD,                                )       Judge Collier
                                                  )
                 Defendant.                       )

                                             ORDER

          On February 15, 2018, following the jury’s guilty verdict against Defendant Mark

   Hazelwood on conspiracy to commit mail fraud and wire fraud, wire fraud, and witness tampering,

   the undersigned referred Defendant to Magistrate Judge Bruce Guyton for a hearing on whether

   Defendant should continue to be released or should be detained pending his sentencing hearing.

   The Magistrate Judge held a detention hearing on February 16, 2018 and issued a report and

   recommendation (“R&R”) on February 21, 2018 pursuant to 28 U.S.C. § 636(b)(1)(B)

   recommending Defendant’s continued release on certain new conditions. (Doc. 497.) Neither

   party has objected to the R&R within fourteen days. See Fed. R. Crim. P. 59(b)(2).

          The Court ACCEPTS and ADOPTS the R&R (Doc. 497). Defendant shall remain on

   release on the new conditions imposed by the Magistrate Judge (Doc. 491).


          SO ORDERED.

          ENTER:

                                                      /s/
                                                      CURTIS L. COLLIER
                                                      UNITED STATES DISTRICT JUDGE




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